                   Case 1:15-bk-11488        Doc 92 Filed 11/27/18 Entered 11/27/18 14:36:58                 Desc
                                             Gr/Dn Aft Consideration Page 1 of 1
                                             UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF RHODE ISLAND


_____________________________________________________________________________________________________________
         In Re: LaSalle Health Service, Inc.                    BK No. 1:15−bk−11488
         Debtor(s)                                             Chapter 7

_____________________________________________________________________________________________________________
                                               ORDER GRANTING (doc# 91 )
           Re: Motion of Robert J. Poulson to Appear Pro Hac Vice filed by Interested Party Finalize Bankruptcy Inc.



        After consideration of the pleading(s), it is hereby ORDERED that the above entitled document (doc. # 91 ) is
        GRANTED .




                                                               So Ordered:




                                                               Date: 11/27/18
        Entered on Docket: 11/27/18
        Document Number: 92 − 91
        145.jsp




        ______________________________________________________________________________________________

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